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6    Attorneys for the United States of America

7
                  UNITED STATES DISTRICT COURT
8                      DISTRICT OF NEVADA
9                             -oOo-
10    UNITED STATES OF AMERICA,

11                            Plaintiff,                  2:17-cr-00205-APG-GWF

12                 vs.                                    STIPULATION FOR A
                                                          PROTECTIVE ORDER
13    CAMILO Q. PRIMERO, and
      AURORA S. BELTRAN,
14
                              Defendants.
15

16         The parties, by and through the undersigned, respectfully request that the Court

17   issue an Order, effective following the signing of the Order, protecting from disclosure to

18   the public, or any third party not directly related to this case, any documents, recordings,

19   or other tangible things produced by the Government during discovery under bates

20   stamp numbers 000001 to 066237. The parties state as follows:

21         1.     Commencing in July 2017, the Government has produced to Defendants

22   Beltran and Primero discovery designated by bates stamp numbers 000001 to 066237

23   (the “discovery” or “discovery material”). The discovery contains private medical and

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1    patient information of certain nonparties, and is too voluminous to redact.

2          2.     During the time period from July 2017 to February 2018, various discovery

3    materials were provided to Defendant Primero.

4          3.     On February 28, 2018, Defendants Primero and Beltran were ordered

5    detained pending trial. In order to prepare for trial, counsel for Defendants Primero and

6    Beltran wish to provide copies of the discovery in flash drive, disc, and/or paper format

7    to their clients who are currently detained pending trial at the Nevada Southern

8    Detention Center in Pahrump, Nevada.

9          4.     In order to prevent further dissemination of this material, effective on the

10   date this Order is signed, the parties intend to restrict access to the discovery material

11   in this case to the following individuals: the defendants, attorneys for all parties, and

12   any personnel that the attorneys for all parties consider necessary to assist in

13   performing that attorneys’ duties in the prosecution or defense of this case, including

14   copying services, investigators, paralegals, experts, support staff, interpreters, detention

15   facility personnel, and any other individuals specifically authorized by the Court

16   (collectively, the “Covered Individuals”).

17         5.     After the effective date of this order, without leave of Court, the Covered

18   Individuals shall not:

19                a.     make copies for, or allow copies of any kind to be made by any other

20                       person of the discovery in this case;
                  b.     allow any other person to read, listen, or otherwise review the
21
                         discovery material;
22                c.     use the discovery material for any other purpose other than

23                       preparing to defend against or prosecute the charges in the

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1                        Indictment or any further superseding indictment arising out of this

2                        case; or
                  d.     attach to motions, pleadings, or briefs without appropriate
3
                         redactions any of the discovery material. If the material is incapable
4                        of meaningful redaction, the Covered Individual will file the

5                        document under seal.
           6.     This Stipulation and Order does not apply to previous disclosures of the
6
     discovery.
7
           7.     This Stipulation and Order does not apply to the procedures and policies at
8
     the Nevada Southern Detention Center relating to their review of materials coming into
9
     the facility and the storage of said material.
10
           8.     Nothing in this stipulation is intended to restrict the parties’ use or
11
     introduction of the discovery material as evidence at trial or support in motion practice.
12
           9.     The parties shall inform any person to whom disclosure may be made
13
     pursuant to this order of the existence and terms of this Court’s order.
14
           10.    Should a reasonable need for this protective order cease to exist, on grounds
15
     other than a Covered Individual or some other person violating or circumventing its
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     terms, the Government will move expeditiously for its dissolution.
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1          11.   The defense hereby stipulates to this protective order.

2
                                           Respectfully submitted,
3
                                           For the United States:
4
                                           DAYLE ELIESON
5                                          United States Attorney

6                                          ______/s/______________________
                                           PATRICK BURNS
7                                          Assistant United States Attorney

8
                                           For the Defense:
9
                                           _____/s/_______________________
10                                         JEFFREY B. SETNESS, ESQ.
                                           WILLIAM MCMURREY, ESQ.
11                                         Attorneys for CAMILO Q. PRIMERO

12
                                           _____/s/_______________________
13                                         BRET WHIPPLE
                                           Attorney for AURORA S. BELTRAN
14

15

16   IT IS SO ORDERED:

17   _________________________
                                                          6-12-2018
                                                        _________________
     GEORGE W. FOLEY                                          Date
18   United States Magistrate Jude

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